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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

  NOE GONZALEZ, individually and on behalf of all
  others similarly situated,

                                         Plaintiff,          21-cv-5017

                        - against -
                                                             Hon. Pamela K. Chen, USDJ
  THE CHEESECAKE FACTORY RESTAURANTS,
  INC. d/b/a THE CHEESECAKE FACTORY,

                                      Defendants.




          PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
                  RENEWED MOTION TO COMPEL ARBITRATION




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                                 PRELIMINARY STATEMENT

        This action was commenced on September 8, 2021. Defendant served its first motion to

 stay the action and compel arbitration on February 14, 2022. On March 1, 2022, after reviewing

 the Defendant’s moving papers, Plaintiff advised The Cheesecake Factory Restaurants, Inc.

 (“TCFI”) that it had failed to submit evidence in admissible form in support of its motion to compel

 arbitration. Plaintiffs then served opposition pointing out the evidentiary deficiencies. Defendant

 then tried to establish the existence of an agreement to arbitration with its reply. The Court denied

 TCFI’s motion on March 13, 2023 because “Defendant has failed to adduce admissible evidence

 supporting its theory that the parties signed an agreement to arbitrate.” Gonzalez v. Cheesecake

 Factory Rests., Inc., No. 21-CV-5017 (PKC) (SIL), 2023 U.S. Dist. LEXIS 41808, at *2 (E.D.N.Y.

 Mar. 13, 2023).

        Defendant served its renewed motion to compel arbitration on June 30, 2023. However,

 Defendant again fails to establish the existence of an agreement to arbitrate. More specifically,

 with regard to Mr. Gonzalez, Defendant has failed to furnish a certified translation of a Spanish-

 language document. With regard to Mr. Calvagno (a proposed additional named plaintiff as set

 forth in Plaintiffs’ proposed amended complaint), TCFI has failed to furnish a signed English

 handbook and has failed to offer evidence in admissible form that an agreement to arbitrate

 between TCFI and Calvagno exists.

        TCFI further asks the Court to bind Calvagno and other employees to the terms of three

 revised employee handbooks. According to TCFI employees should be legally bound by these

 revised handbooks because employees received a message as follows:

        Hi Everyone!

        We are pleased to announce the release of our updated. . .Cheesecake Factory Staff
        Member Handbook! Our Staff Handbook is a great way to learn and reference
        information about our Company – including our values, benefits, and many other


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           topics, so be sure to check it out! You can access it at any time via ScoopsLive or
           ask your GM for a hard copy. If you have any questions, please ask your GM or
           OST.

           Let’s have another great day! 1

           However, TCFI has not furnished any of the revised handbooks to the Court or Plaintiffs’

 counsel. TCFI has not established the admissibility of the Spanish handbook or the English

 handbook. Plaintiffs request that the renewed motion be denied with prejudice as Defendant has

 had two years and repeated opportunities to establish its entitlement to relief.

 I.        DEFENDANT HAS FAILED TO ESTABLISH THE ADMISSIBILITY OF THE
           SPANISH-LANGUAGE SHORT FORM

           A.      Defendant Bears the Burden of Demonstrating by a Preponderance of the
                   Evidence that an Agreement to Arbitrate Exists

           “The party seeking to compel arbitration bears an initial burden of demonstrating that an

 agreement to arbitrate was made.” Zachman v. Hudson Valley Fed. Credit Union, 49 F.4th 95, 101-

 02 (2d Cir. 2022). Thus, a defendant must present evidence which is sufficient to demonstrate an

 enforceable agreement to arbitrate. Oppenheimer & Co. v. Neidhardt, 56 F.3d 352, 358 (2d Cir.

 1995). Only after a defendant makes such a showing does the burden shift to plaintiffs to

 demonstrate a genuine issue for trial. See Id.

           B.      TCFI has failed to provide a certified translation of the document signed by
                   Gonzalez.

           The Court previously noted that the Spanish language document ostensibly signed by

 Gonzalez was inadmissible because TCFI “failed to present a certified English translation of it.”

 Gonzalez v. Cheesecake Factory Rests., Inc., No. 21-CV-2017 (PKC)(SIL), 2023 U.S. Dist. LEXIS

 41808, at *4 (E.D.N.Y. Mar. 13,2023). The Court went on to explain what a “certified” translation

 is: “A certified translation is one to which the author swears that the contents are true and accurate


 1
     Exhibit A to Lewis Declaration (Emphasis added).


                                                        2
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 and also swears to his or her identity and qualifications to translate the relevant languages.”

 Gonzalez v. Cheesecake Factory Rests., Inc., No. 21-CV-2017 (PKC)(SIL), 2023 U.S. Dist. LEXIS

 41808, at *4 (E.D.N.Y. Mar. 13,2023)(emphasis supplied).

          In lieu of a certified translation, TCFI now submits a letter from one Walter L. Krochmal

 addressed “To Whom It May Concern”, asking the Court to “direct any inquiries to [him] at the

 contact information below” (the “Krochmal letter”). The Krochmal letter is neither sworn to nor

 certified under the penalty of perjury as required by 28 U.S.C. § 1746. See LeBoeuf, Lamb, Greene

 & MacRae, L.L.P. v. Worsham, 185 F.3d 61, 65-66 (2d Cir. 1999) (unsworn letter is inadmissible

 under section 1746 unless it is signed, dated, and contains statements made under "penalty of

 perjury”); Chaiken v. VV Publ’g Corp., 119 F.3d 1018, 1032-33 (2d Cir. 1997) (unsworn letters are

 also inadmissible on summary judgment motions in Second Circuit).

          Mr. Krochmal does not provide a copy of the document he translated. TCFI has not

 furnished a copy of the document it provided to Mr. Krochmal to translate. Although Mr.

 Krochmal’s letter refers to a document titled “Gonzalez Arbitration Agreement”, there is no

 document in the record bearing this title. 2

          C.       TCFI Contradicts Statements Made by Mr. Krochmal

          TCFI’s representations directly contradict the statements made by Mr. Krochmal.

 According to TCFI, “Mr. Krochmal translated the English version of the Employee Handbook

 acknowledgment to Spanish and compared it to the Spanish version of the Employee Handbook

 acknowledgment presented to Gonzalez.” Def MOL at 4 (emphasis added). However, this



 2
   Although the Krochmal letter is immediately followed by an English-language document titled “Non-Disclosure
 Agreement and Receipt of Handbook” (hereinafter “NDA”), there is no indication in Mr. Krochmal’s letter that the
 NDA is, in fact, his translation, much less a “true and accurate” translation. TCFI fails to make any connection between
 the English Non-Disclosure Agreement and the document identified by Barbara Lewis as “the Spanish language
 version of the employee handbook acknowledgement form that was provided to Mr. Gonzalez.” See ECF 18-2 ¶ 7,
 and Exhibit C thereto.


                                                            3
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 statement is unsupported and contradicts the Krochmal Letter, which states that Mr. Krochmal

 “translated one (1) document from Spanish to English[.]” 3

          The Krochmal letter further states that “[a]fter finalizing the foregoing translation, I also

 reviewed the original English-language document in comparison with the original Spanish-

 language document and believe the latter is a reasonable translation of the former.” 4 However,

 Krochmal does not identify either the “original English-language document” or the “original

 Spanish-Language document” he is referring to.

          D.       There is no Law to Support the Admissibility of a “Reasonable” Translation

          Mr. Krochmal’s “belief” that a translation is “reasonable” is of no moment. Even if

 Krochmal had provided the documents that were translated, the Spanish Handbook would still be

 inadmissible, because it is unaccompanied by a certified translation, and because there is no law

 to support the admission into evidence of a “reasonable” translation. 5

 II.      THE LEWIS DECLARATION AND THE DOCUMENTS ANNEXED THERETO
          ARE INADMISSIBLE

          It is well established that an affidavit must be based on personal knowledge. MacKinney v.

 Allstate Fire & Cas. Ins. Co., No. 16-cv-01447-NYW, 2018 WL 4242922, at *4-5 (D. Colo. Sept.

 6, 2018) (evidence of defendant's alleged practices must be based on personal knowledge or is

 excludable; moreover, letters written by counsel to a party are inadmissible hearsay as to truth of

 matter asserted under FRE 801-802); Fed. R. Civ. P. 56(c)(4) (“An affidavit or declaration used to

 support or oppose a motion must be made on personal knowledge, set out facts that would be




 3
   Krochmal letter ¶ 1 (“I hereby warrant that I have translated one (1) document from Spanish to English.”)
 4
   Emphasis added.
 5
   Mr. Krochmal also does not state what has become of his original translation. He asserts that his translation was
 “finalized” after “consultation with [counsel for TCFI] for legal terms of art and vocabulary specific to the industry
 that said document covers.”


                                                           4
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 admissible in evidence, and show that the affiant or declarant is competent to testify on the matters

 stated.”).

            Likewise, a declaration should be disregarded by the court “to the extent it makes

 generalized and conclusory statements that are unsupported by admissible evidence.” Lavender v.

 Verizon N.Y., Inc., No. 17-CV-6687(JS)(ARL), 2023 U.S. Dist. LEXIS 22356, at *35 (E.D.N.Y.

 Feb. 9, 2023); See Hicks v. Baines, 593 F.3d 159, 166 (2d Cir. 2010) ("mere conclusory allegations

 or denials cannot by themselves create a genuine issue of material fact where none would otherwise

 exist").

            According to Barbara Lewis, TCFI provided every person hired in the State of New York

 with an “Employee Handbook”. Lewis Decl. ¶ 4. On February 11, 2022, however, Ms. Lewis

 signed a declaration suggesting that she has no personal knowledge of this fact because “the

 bookkeepers at the restaurants handled all employment paperwork at the restaurant including all

 onboarding paperwork.” 6 Now Ms. Lewis states in conclusory fashion that “Calvagno would not

 have been able to begin his employment. . .without receiving his onboarding documents. 7” Lewis

 Decl. ¶ 8. She “knows” that employees were provided with the handbook because it was “TCFI

 policy.” Lewis Decl. ¶ 7. However, the “TCFI policy” was apparently unwritten as TCFI has not

 produced any documents concerning the existence of such a policy. She also states that “TCFI

 ensures” that its policies are followed through “monthly self-review audits conducted by each

 restaurant” and “annual corporate internal audits” but offers no specific explanation as to how she

 “knows” that Mr. Calvagno received the Employee Handbook. Lewis Decl. ¶ 5.

            Moreover, Ms. Lewis offers no credible explanation as to why, if (1) a policy was in place

 regarding the signing of Employee Handbooks at the time of hire, (2) documents were kept


 6
     Lewis Decl. (ECF 18-2) ¶ 2.
 7
     Presumably, including the Employee Handbook.


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 pursuant to TCFI policy, and (3) the policy was enforced, TCFI has not produced a single document

 allegedly signed by Mr. Calvagno during the onboarding process. TCFI counsel suggests, with no

 factual support, that TCFI lost the onboarding documents. 8

            In sum, the Lewis declaration is rife with conclusory statements and is not based upon

 personal knowledge, and therefore should be disregarded. Moreover, the Defendant has not

 established the admissibility of any documents annexed to the Lewis Declaration.

 III.       TCFI HAS NOT                ESTABLISHED            THAT       CALVAGNO           AGREED          TO
            ARBITRATION

            Although TCFI claims that Calvagno could not have been hired without signing the short

 form, TCFI offers no explanation as to why it does not have a short form signed by Calvagno.

 TCFI does not say what specific records are kept, how they are kept, whether it searched for

 documents or whether it found any documents. Barbara Lewis doesn’t say why TCFI doesn’t have

 a signed acknowledgement. Counsel for TCFI states that a signed acknowledgement for Mr.

 Calvagno existed at one time, but TCFI has lost the signed pages. 9 In sum Defendant has failed to

 offer evidence in admissible form that Mr. Calvagno received the 2005 Handbook. As stated above,

 Ms. Lewis does not have personal knowledge of whether Mr. Calvagno was furnished with the

 2005 Handbook and her statements regarding how she knows he received the Handbook are

 otherwise conclusory and should be disregarded. See Crean v. Morgan Stanley Smith Barney,

 L.L.C., ___ F. Supp. 3d ___, No. 21-cv-11021-PBS, 2023 WL 363589, at *3, *6-7 (D. Mass. Jan.

 23, 2023) (where defendant offered as evidence of arbitration clause its vice president's affidavit

 because it was "unable to locate the original client agreement with the purported arbitration

 clause," its testimony as to misplaced documents was inadmissible on defendants' motions because



 8
     “TCFI has misplaced the Arbitration Acknowledgment initialed and signed by Calvagno.” Def. MOL at 12.
 9
     See fn. 8.


                                                         6
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 vice president's belief that plaintiffs "would have been required to sign a client agreement

 containing a mandatory arbitration clause” was not based on personal perception or knowledge)

 (citing Air-Con, Inc. v. Daikin Applied Latin Am., L.L.C., 21 F.4th 168, 171, 177 (1st Cir. 2021)).

        TCFI asserts, however, that even if Calvagno was not bound to the 2005 handbook, he was

 bound to three subsequent handbooks. As is explained in detail below, TCFI has not provided any

 handbook to which it claims Calvagno was bound.

        TCFI cites to the Second Circuit’s summary order in Brown v. St. Paul Travelers Co., 331

 F. App'x 68, 69 (2d Cir. 2009), arguing that the facts in this case are identical to those in Brown.

 The facts in Brown are as follows: The handbook in question was revised in 1998, 2001, 2002,

 2003, and 2004. Brown v. St. Paul Travelers Cos., 559 F. Supp. 2d 288, 289-90 (W.D.N.Y. 2008).

 “In an affidavit [the] Senior Vice President for Human Resources for Travelers[] stated that

 updated versions of the handbook, each containing the arbitration policy, were distributed to all

 employees via interoffice mail each time the handbook was revised[.]” Brown v. St. Paul Travelers

 Cos., 559 F. Supp. 2d 288, 289-90 (W.D.N.Y. 2008).

         Additionally, on April 5, 2004, an e-mail was sent to all employees regarding
         various company employment policies, including the arbitration policy. In the e-
         mail, John Clifford, Senior Vice President for Human Resources, advised all
         employees that it was their responsibility “to read and understand” all of the
         company employment policies. Further, the e-mail provided that the agreement to
         abide by these policies was "an express condition" of continuing employment.


 Id. at 290-90 (emphasis added). On appeal, the Second Circuit, after reciting the foregoing facts

 “agree[d] with the District Court that under New York contract law, Brown is ‘deemed to have

 accepted’ the arbitration policy by continuing to work after being advised that it was her

 responsibility to ‘read and understand’ all of the company policies including the arbitration policy.”

 Brown v. St. Paul Travelers Co., 331 F. App'x at 69.




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        Here, TCFI does not claim that it distributed the revised handbooks to Mr. Calvagno (or

 any other employee, for that matter). TCFI does not say that Mr. Calvagno (or any other employee,

 for that matter) accessed the revised handbooks. TCFI does not say that it advised employees (1)

 of an “arbitration policy” contained in the handbooks, (2) that they must read the handbooks, and

 that (3) they would be bound by the handbooks. Instead, according to TCFI, it is enough that

 employees knew that a revised handbook existed. According to TCFI employees were notified

 through “HotSchedules” and other verbal means of the revisions to the handbooks. TCFI provides

 a “HotSchedules” message dating from December 2019, which states as follows:

        Hi Everyone!

        We are pleased to announce the release of our updated 2019 Cheesecake Factory
        Staff Member Handbook! Our Staff Handbook is a great way to learn and reference
        information about our Company – including our values, benefits, and many other
        topics, so be sure to check it out! You can access it at any time via ScoopsLive or
        ask your GM for a hard copy. If you have any questions, please ask your GM or
        OST.

        Let’s have another great day!

        Employees may be bound to an electronic agreement reasonably communicated to them,

 regardless of whether they actually read the agreement. Gambo v. Lyft, Inc., Civil Action No. 22-

 1726 (RDM), 2022 U.S. Dist. LEXIS 207510, at *1 (D.D.C. Nov. 15, 2022) (holding plaintiff to

 terms of arbitration clause that was contained in a clickwrap agreement). However, TCFI did not

 communicate the intended legal significance of the revised handbooks. In fact, the notification is

 misleading. Simply telling employees that reading the handbook is a “great way to learn” about

 TCFI, and encouraging employees to “check it out!” does not put employees on notice of any

 obligation to read the handbook or of TCFI’s intention to legally bind employees to the contents

 thereof.




                                                 8
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        Moreover, TCFI did not require employees to confirm their acceptance of the terms of the

 revised handbooks as a condition of continued employment. See Soliman v. Subway Franchisee

 Advert. Fund Tr., Ltd., 999 F.3d 828, 832, 836 (2d Cir. 2021) (although Subway's terms webpage

 containing arbitration clause was made available to plaintiff, no evidence plaintiff had visited page

 and agreed so as to be obliged to arbitrate); Hirsch v. Citibank, N.A., 542 F. App'x 35, 37 (2d Cir.

 2013) (although defendant cited terms of its client manual, court not satisfied on motion to dismiss

 that plaintiff agreed to said terms); Cox v. Spirit Airlines, Inc., No. 17-CV-5172(EK), 341 F.R.D.

 349 (E.D.N.Y. Mar. 29, 2022)(plaintiff not bound by hyperlinked terms on website because no

 evidence plaintiff specifically consented to term raised by defendant); Scotti v. Tough Mudder Inc.,

 63 Misc. 3d 843, 854-55 (N.Y. Sup. Ct. 2019) (N.Y. Sup. Ct., Kings Cty. 2019) (under New York

 law, existence of arbitration clause is insufficient; court must be persuaded with evidence of assent

 given “how the subject arbitration clause actually appeared to the user.”).

        It is undisputed that the applicable arbitration clause has not been provided to Plaintiff or

 the “It is a well settled principle of contract law that a new agreement between the same parties on

 the same subject matter supersedes the old agreement.” Ottawa Off. Integration, Inc. v. FTF Bus.

 Sys., 132 F. Supp. 2d 215, 219 (S.D.N.Y. 2001) (specifically finding that the terms of the most

 recent arbitration agreement between the parties had superseded prior arbitration agreements).

        TCFI moved to compel arbitration of the claims of Mr. Gonzalez on February 14, 2022.

 According to TCFI, the last two pages of the English-version of the Employee Handbook (“the

 2005 handbook”) contained a “Non-Disclosure Agreement and Receipt of Handbook” which

 contained an agreement to arbitrate. See Lewis Decl., ECF 18-2 ¶ 7 and Exhibit A thereto. TCFI’s

 declaration dated February 11, 2022 stated that the 2005 handbook was the version that was




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 “operative as of April 2009” but omitted any statement as to whether the 2005 handbook was

 operative as of the time that this action was commenced. ECF 18-2 ¶ 7.

         Defendant served its renewed motion to compel arbitration on June 30, 2023. For the first

 time, in its renewed motion, Defendant revealed that the 2005 handbook, although “operative” as

 of April 2009, was no longer in effect. More specifically, TCFI now states that between 2008-

 2020, “TCFI [had] re-issued the Employee Handbook – including the Arbitration Acknowledgment

 – three times.” Lewis Decl. ¶ 9 (emphasis supplied). 10 TCFI claims that it “revised and

 redistributed the Employee Handbook three times during Calvagno’s employment” and “TCFI

 notified Calvagno . . .that he must read the Employee Handbook and that compliance with the

 Employee Handbook was a condition of employment.” Def MOL at 14 (emphasis supplied).

         Here, TCFI states that (1) the handbook containing the “arbitration agreement” was revised

 three times after the Plaintiffs’ employment began (2) TCFI notified all employes that they “must

 read” each revised handbook, and (3) that compliance with the revised handbooks was a condition

 of continued employment. See Def MOL, at 14.

         However, TCFI has not furnished any of the handbooks that were allegedly issued after

 the date of hire and to which TCFI claims Calvagno was bound as a condition of continued

 employment , and TCFI has not furnished the Spanish versions of the handbooks (accompanied

 by certified translations) that were allegedly issued after Noe Gonzalez’ date of hire and to which

 TCFI claims Gonzalez was bound as a condition of continued employment.




 10
    However, the handbook was not simply “reissued” but was instead revised. See Lewis Decl., annexed hereto, ¶ 6
 (referring to the 2005 handbook as a “version of the Employee Handbook” provided to Noe Gonzalez in 2009 and
 Keith Calvagno in 2008); Lewis Decl. ¶ 12 (TCFI notified employees of “updates to the employee handbook” three
 times); Lewis Decl. ¶ 14 (“Updates to the Employee Handbook were also conveyed”); Lewis Decl. ¶ 16 (“TCFI
 provided Calvagno with three updates to the Employee Handbook” and encouraged him to read each update).


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 IV.       THE ENGLISH VERSION OF THE HANDBOOK DOES NOT COMPEL
           ARBITRATION

           A.     The Purported “Arbitration Agreement” is Illusory

           The English handbook contains a table of contents titled “What’s In Your Cheesecake

 Factory Handbook.” Included among the contents of the handbook are “Things You Need To

 Know”, and “Handbook Receipt And Confidentiality Agreement”.

           Under the section “Things You Need To Know”, the handbook states:

           Other than your at-will employment status, The Cheesecake Factory reserves the
           right to change or revise policies, procedures and benefits described in this
           Handbook as the need arises [. . .] [It] is not, nor should be, considered to be an
           agreement or contract of employment, express or implied, or a promise of treatment
           in a particular manner in any given situation.14

           Under the section “Handbook Receipt and Confidentiality Agreement”, the handbook

 states:

           I am aware that The Cheesecake Factory may, in its sole discretion, change, rescind
           or add to any policies, benefits or practices described in this handbook [. . .] I also
           understand that the Handbook and other training materials are not, nor should they
           be considered to be, an agreement or contract of employment, express or implied
           [.]15

           TCFI did not except any portion of the handbook from this unfettered discretion.

 Moreover, insofar as TCFI declared employees to be at-will and lacking durable rights under the

 handbook, there is no consideration for Plaintiff's alleged agreement to read the terms delivered to

 him over the Internet by TCFI. See, e.g., Floss v. Ryan's Family Steak Houses, Inc., 211 F.3d 306,

 315 (6th Cir. 2000) (holding that an "employer's promise in employee handbook to arbitrate

 disputes did not create binding obligation when employer retains right to revoke arbitration

 provision") (citing Trumbull v. Century Mktg. Corp., 12 F. Supp. 2d 683, 686 (N.D. Ohio 1998));

 Williamson v. Dillard's, Inc., No. 18-CV-0451-CVE (W.D. Okla. Mar. 25, 2019),

 https://casetext.com/case/williamson-v-dillards-inc (noting that an employer-employee agreement



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 to arbitrate disputes is an illusory promise if the employer retains discretion to modify the

 employment or arbitration agreement to employee's detriment; Crump v. MetaSource Acqs., L.L.C.,

 373 F. Supp. 3d 540, 545-46 (E.D. Pa. 2019) (where an employer reserves the right to modify

 arbitration agreement without binding itself to make modifications in writing and with adequate

 notice, entire agreement is illusory) (citing Crump v. MetaSource Acqs., L.L.C., CIVIL ACTION

 NO. 18-3313, 2014 WL 36609, at *9 (E.D. Pa. Mar. 19, 2019)); Rightnour v. Tiffany & Co., 239

 F. Supp. 3d 744, 752-53 (S.D.N.Y. 2017) (continued employment after logging into online

 "training programs" containing arbitration clause was not binding because simply continuing to

 work after reading an agreement plaintiff was not required to sign did not establish plaintiff's intent

 to be bound by the agreement).

        It is well established that “if the promisor is free to perform it or not, as he wills, [a promise]

 is wholly illusory and will not be enforced.” In re 114 Tenth Ave. Ass’n, 441 B.R. 416, 428

 (S.D.N.Y. 2010). Numerous courts have found that where a party has unilateral authority to modify

 the terms of an arbitration agreement without the other party’s consent and with little or no notice,

 the arbitration agreement is illusory. Day v. Fortune Hi-Tech Mktg., 536 F. App'x 600, 604 (6th

 Cir. 2013) (finding an arbitration provision which allowed the drafter to modify at any time made

 the promise illusory and the contract void for lack of consideration)); Perez v. Hosp. Ventures

 Denver L.L.C., 245 F. Supp. 2d 1172, 1175 (D. Colo. 2003) (finding the ability to modify the terms

 of an arbitration agreement unilateral rather than mutual and therefore illusory); Dumais v. Am.

 Golf Corp., 150 F. Supp. 2d 1182, 1193–94 (D.N.M. 2001) (finding an arbitration agreement that

 allowed the drafter to unilaterally modify to be illusory); Trumbull v. Century Mktg. Corp., 12 F.




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 Supp. 2d 683, 686 (N.D. Ohio 1998) (finding an employment contract that allowed for unilateral

 modification by the employer to be illusory, including the arbitration clause). 11

          B.       The Implied Covenant of Good Faith and Fair Dealing Did Not Limit TCFI’s
                   Discretion to Change the Terms of The English Handbook

          TCFI may point to case law in New York holding that where the covenant of good faith

 and fair dealing acts as a limitation on the employer’s discretion to change the terms of the

 handbook, there is sufficient consideration. See e.g., S. Telecom Inc. v. ThreeSixty Brands Grp.,

 LLC, 520 F. Supp. 3d 497, 506 (S.D.N.Y. 2021). In this case, the implied covenant does not impose

 any obligation upon TCFI:

          The implied covenant of good faith and fair dealing is breached when a party acts
          in a manner that would deprive the other party of the right to receive the benefits of
          their agreement. The implied covenant includes any promises which a reasonable
          promisee would be justified in understanding were included. However, no
          obligation may be implied that would be inconsistent with other terms of the
          contractual relationship.

 1357 Tarrytown Rd. Auto, L.L.C. v. Granite Props., L.L.C., 2016 N.Y. Slip Op. 05981 (2d Dep’t

 Sept. 14, 2016).

          The TCFI handbook makes no promises or assurances to the employee:



 11
   Neither the Supreme Court, nor the Second Circuit, has interpreted the English handbook. TCFI cites to cases from
 the District of Maryland, the District of Arizona, or the Western District of Tennessee, which are neither binding nor
 persuasive, as they are from district courts and rely upon state law. In Sedelnikova v. Cheesecake Factory Rest., Inc.,
 Civil Action No. AW-09-2398, 2010 U.S. Dist. LEXIS 56211, at *8-9 (D. Md. June 7, 2010), the court did not apply
 the proper standard. On a motion to compel arbitration, the court must draw “all reasonable inferences in favor of the
 non-moving party.” Starke v. Squaretrade, Inc., 913 F.3d 279, 281 n.1 (2d Cir. 2019) (citing Nicosia v. Amazon.com,
 Inc., 834 F.3d 220, 229 (2d Cir. 2016)). The Sedelnikova court specifically took note of the handbook language
 permitting TCFI to “in its sole discretion, change” or “rescind” the contents of the handbook, and stated, “This Court
 would certainly find a lack of consideration in this agreement were the Court to consider the arbitration clause part
 of the revocable Handbook policies and other training materials.” The Sedelnikova court also acknowledged that
 “[c]ertainly, the arbitration agreement’s presence on page sixty-six of the Handbook lends some weight to Plaintiff’s
 argument that the arbitration policy is part of the Handbook policies.” Nevertheless, the Court resolved an issue of
 fact against the non-movant by finding that “the arbitration agreement is distinct from the Handbook policies.” The
 Sedenikova Court’s logic was as follows: “Yes, TCFI reserved the right to change ‘any of the policies [or] practices’
 contained in ‘this handbook.’ Yes, ‘this handbook’, includes the pages initialed or signed by the Plaintiff mentioning
 arbitration. Yes, the arbitration practices and policies on pages 68 and 69 are contained within ‘this handbook.’
 However, at the same time, the arbitration policies are ‘distinct’ from all of the other practices and policies in the
 handbook.”


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        Other than your at-will employment status, The Cheesecake Factory reserves the
        right to change or revise policies, procedures and benefits described in this
        Handbook as the need arises. This Handbook is provided as a guide[.] The
        Handbook is not, nor should be, considered to be an agreement or contract of
        employment, express or implied, or a promise of treatment in a particular manner
        in any given situation.

        and

        The Company can terminate the employment relationship at will, at any time, with
        or without cause or advance notice.

        The implied covenant of good faith and fair dealing can only be invoked if there is an

 agreement (i.e., if “a party acts in a manner that would deprive the other party of the right to receive

 the benefits of their agreement”). Id. In this case, TCFI disclaims that the handbook constitutes an

 “employment agreement” between the parties. However, even assuming the handbook constitutes

 an agreement, TCFI expressly reserved the right to change its policies, and therefore changes to

 the handbook would be consistent with the terms of such agreement. See Id. For example, it is well

 settled that a promise to pay incentive compensation is unenforceable if the written terms of the

 compensation plan make clear that the employer has absolute discretion in deciding whether to

 pay the incentive., O'Shea v. Bidcom, Inc., No. 01 Civ. 3855 (WHP), 2002 WL 1610942, at *3

 (S.D.N.Y. July 19, 2002); Culver v. Merrill Lynch & Co., No. 94 Civ. 8124 (LBS), 1995 U.S. Dist.

 LEXIS 10017 (S.D.N.Y. July 17, 1995); Namad v. Salomon, Inc., 74 N.Y.2d 751, 752, 545

 N.Y.S.2d 79, 80, 543 N.E.2d 722, 723 (1989); Lam v. Am. Express Co., 265 F. Supp. 2d 225, 237

 (S.D.N.Y. 2003).

         Moreover, in order to invoke the implied covenant of good faith and fair dealing, TCFI

 must identify the “fruits of a contract” that the Plaintiff would be deprived of by a change in the

 manual. See S. Telecom Inc. v. ThreeSixty Brands Grp., LLC, 520 F. Supp. 3d 497, 507 (S.D.N.Y.

 2021). Although application of the covenant of good faith and fair dealing may negate a clause

 that allows a party to exercise its discretion, “it cannot be said that application of the covenant is


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 necessary to preserve the ‘fruits of a contract”, because “[t]he fruits of a contract do not include a

 benefit to which a party was not entitled.” Id. at 506

         C.      Employment in New York is “At Will”

         In Murphy v. Am. Home Prods. Corp., 58 N.Y.2d 293, 461 N.Y.S.2d 232, 448 N.E.2d 86

 (1983), the New York Court of Appeals “considered whether a long-tenured corporate employee

 allegedly discharged in part for reporting accounting improprieties to top management had stated

 a cause of action. . .in contract for breach of an implied covenant of good faith and fair dealing.”

 Horn v. N.Y. Times, 100 N.Y.2d 85, 91, 760 N.Y.S.2d 378, 380, 790 N.E.2d 753, 755 (2003). The

 Plaintiff in Murphy specifically “argued that the law implies a covenant of good faith and fair

 dealing in all contracts, including employment contracts[.]” Id. at 92, 760 N.Y.S.2d at 381, 790

 N.E.2d at 756. The court noted,

         In such instances the implied obligation is in aid and furtherance of other terms of
         the agreement of the parties. No obligation can be implied, however, which would
         be inconsistent with other terms of the contractual relationship. Under New York
         law, absent a constitutionally impermissible purpose, a statutory proscription, or an
         express limitation in the individual contract of employment, an employer's right at
         any time to terminate an employment at will remains unimpaired.

 Murphy, 58 N.Y.2d at 304-05, 461 N.Y.S.2d 232, 448 N.E.2d 86 (emphasis added) (citations

 omitted).

         In other words, irrespective of the provisions in the handbook, TCFI could exercise the

 unimpaired right to terminate the Plaintiff at any time for any reason or no reason at all, with or

 without notice. And if TCFI could exercise this unfettered right, it is not clear that TCFI owed any

 obligation to the Plaintiff.

         D.      The Purported “Arbitration Provision” is Unenforceable Because Arbitration
                 was Not Expressly Made a Condition of Continued Employment

         “As several courts in this Circuit have noted, an employer cannot rely on the very same

 terms to snatch away employees’ contractual rights with one hand while imposing asymmetric


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 contractual duties with the other.” Seltzer v. Clark Assocs., L.L.C., No. 20 Civ. 4685 (AKH), 2020

 U.S. Dist. LEXIS 161542, at *8 (S.D.N.Y. Sept. 3, 2020); United States ex rel. Harris v. EPS, Inc.,

 No. 05 Civ. 212, 2006 U.S. Dist. LEXIS 30012, 2006 WL 1348173, at *5 (D. Vt. May 16, 2006)

 ("Having inserted these disclaimers in an apparent effort to avoid vesting [the employee] with

 contractual rights, [the employer] cannot conveniently choose to ignore them and argue that the

 Handbook imposes contractual obligations. . .").

        In Seltzer, as in this case, the handbook “expressly disavow[ed] that it create[d] contractual

 rights or duties; self-describe[d] as ‘guidelines only; and reserve[d] to [the employer the] right to

 unilaterally alter the Handbook at any time, and without any notice.” As in this case, the defendant

 employer in Seltzer argued that the arbitration provision was valid despite the disclaimer of

 contractual rights. The court observed that

        the only cases that [have] granted motions to compel arbitration despite language
        disclaiming the creation of contract rights involved arbitration provisions that
        specified that compliance with the arbitration policy was a condition of
        employment. See, e.g., Patterson v. Raymours Furniture Co., 96 F. Supp. 3d 71, 76
        (S.D.N.Y. 2015) ("Here the [arbitration provision] clearly states: 'This Program is
        an essential element of your continued employment relationship with Raymour &
        Flanigan and is a condition of your employment.'"); Curry v. Volt Info. Scis., Inc.,
        No. 07 Civ. 7158, 2008 U.S. Dist. LEXIS 20910, 2008 WL 719214, at *1 (S.D.N.Y.
        Mar. 18, 2008) (the employee handbook provided that, "Arbitration is an essential
        element of your employment relationship with Volt and is a condition of your
        employment"); Brown, 331 F. App'x at 69-70 (employer executive emailed all
        employees that "abiding by" the company arbitration policy "was an 'express
        condition' of continuing employment"); Graham v. Command Sec. Corp., 46 Misc.
        3d 1224(A), 13 N.Y.S.3d 850 (N.Y. Sup. Ct. 2014) (employer sent email advising
        all employees that agreeing to the arbitration policy "'was an express condition' of
        continuing employment").

 Seltzer, 2020 U.S. Dist. LEXIS 161542, at *9 (emphasis supplied); see also Sherry v. Sisters of

 Charity Med. Cen., No. 98 Civ. 6151, 1999 U.S. Dist. LEXIS 6623, 1999 WL 287738, at *5

 (E.D.N.Y. May 4, 1999) ("[T]he language . . . does not indicate that as a condition of employment,

 employees agree to submit disputes to arbitration."). The Seltzer court refused to enforce the



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 arbitration provision, noting that “the Handbook here did not notify employees that foregoing the

 right to bring suit in court amounted to a condition of employment.” Seltzer, at *9.

          For this reason, “[a]n arbitration agreement included in an employee handbook with

 language ‘providing that the handbook does not constitute a . . . contract of employment or that

 the arbitration policy may be amended’ is enforceable” only if “the employee is advised of the

 policy and that ‘compliance with it [is] a condition of employment.’” Isaacs v. OCE Bus. Servs.,

 968 F. Supp. 2d 564, 571 (S.D.N.Y. 2013)(citing Brown v. St. Paul Travelers Co., 559 F. Supp. 2d

 288, 292 (W.D.N.Y. 2008), aff'd, 331 F. App'x 68 (2d Cir. 2009).

          The English handbook expressly disavows the creation of any contractual rights. 12 The

 handbook is only provided as a “guide” 13, and TCFI expressly reserves the right to change the

 terms of the handbook at any time. 14

          E.       A Provision Making Arbitration a Condition of Continued Employment
                   Should Not be Read Into the Handbook

          TCFI attempts to add language into its “Arbitration Clause” through the declaration of

 Barbara Lewis, which states that:

          In 2008, it was TCFI policy to inform all new hires during the onboarding process that the
          Arbitration Acknowledgment required mandatory individual arbitration for any disputes
          that arose. In 2008, it was also TCFI policy to inform onboarding employees that their offer
          of employment and continued employment was expressly conditioned on them agreeing to
          the Arbitration Acknowledgment.20




 12
    “The Handbook is not, nor should be, considered to be an agreement or contract of employment, express or implied,
 or a promise of treatment in a particular manner in any given situation.” Page 13.
 13
    The Handbook “is provided as a guide.” Page 13.
 14
    “The Cheesecake Factory reserves the right to change or revise policies, procedures and benefits described in this
 Handbook as the need arises.” Page 13. “The Handbook is not, nor should be, considered to be an agreement or
 contract of employment, express or implied, or a promise of treatment in a particular manner in any given situation.”
 Page 13. The employee is “aware that The Cheesecake Factory may, in its sole discretion, change, rescind or add to
 any policies, benefits or practices described in this handbook or other training material and that [the employee] must
 abide by the new policies and practices.” Page 65.


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        In other words, according to Barbara Lewis, although the handbook does not specify that

 arbitration is “mandatory”, or “individual”, or that “continued employment” is conditioned on an

 agreement to be bound by arbitration, the Court may read these terms into the agreement because,

 although not in writing, they were communicated to the employee.

        However, “[a] court may not rewrite into a contract conditions the parties did not insert . .

 . ." Marine Assocs., Inc. v. New Suffolk Dev. Corp., 125 A.D.2d 649, 510 N.Y.S.2d 175, 178 (2d

 Dep’t 1986). This is especially true where, as here, TCFI appears to be aware of the deficiencies

 in the document it drafted.

 V.     IF THE COURT FINDS THAT AN AGREEMENT TO ARBITRATE EXISTS, IT
        SHOULD DIRECT THE PARTIES TO PROCEED WITH NON-BINDING
        ARBITRATION

        “[C]ourts must place arbitration agreements on an equal footing with other contracts, and

 enforce them according to their terms.” AT&T Mobility L.L.C. v. Concepcion, 563 U.S. 333, 339,

 131 S. Ct. 1740, 1745-46 (2011) (citations omitted). “The federal policy is about treating

 arbitration contracts like all others, not about fostering arbitration.” Morgan v. Sundance, Inc., 142

 S. Ct. 1708, 1710 (2022). While the FAA expresses a strong federal policy in favor of arbitration,

 the purpose of Congress in enacting the FAA “was to make arbitration agreements as enforceable

 as other contracts, but not more so.” Opals on Ice Lingerie, Designs by Bernadette, Inc. v.

 Bodylines Inc., 320 F.3d 362, 369 (2d Cir. 2003).

        “Parties intending binding arbitration should say so explicitly in the agreement to arbitrate,

 either by providing that the arbitration award will be ‘final and binding,’ or words to that effect, or

 by incorporating by reference the rules of the American Arbitration Association or a similar arbitral

 body that expressly provide for binding arbitration.” Dow Corning Corp. v. Safety Nat’l Cas.

 Corp., 335 F.3d 742, 745 (8th Cir. 2003); see Idea Nuova, Inc. v. GM Licensing Grp., Inc., No. 08

 Civ. 8595 (PKC), 2009 U.S. Dist. LEXIS 73390, at *23 (S.D.N.Y. Aug. 19, 2009) (implicitly


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 following Dow Corning and finding that arbitration was “binding” as the parties agreed to submit

 the dispute to the American Arbitration Association).

          Here, the language does not state that arbitration is “final” or “binding”, nor does the

 handbook require arbitration in a forum that provides for binding arbitration: Instead, the handbook

 states “I agree to participate in impartial dispute-resolution proceedings” and “I agree to

 participate in arbitration proceedings.” Moreover, with regard to Spanish-speaking employees,

 assuming without conceding, that the document which follows the Krochmal letter is supposed to

 be an accurate translation of the Spanish Handbook, the language is even more vague: “I agree to

 participate in an impartial conflict resolution proceeding” and “I agree to participate in an

 arbitration procedure.” (emphasis supplied). A plain reading of the clause does not inform the

 employee that arbitration is binding or final, and no such clause should be read into the handbook.15

 VI.      SHOULD THE COURT COMPEL ARBITRATION, SUCH ARBITRATION
          SHOULD NOT BE LIMITED TO INDIVIDUAL ARBITRATION

          In Green Tree Fin. Corp. v. Bazzle, 539 U.S. 444, 452, 123 S. Ct. 2402, 156 L. Ed. 2d 414

 (2003), the Supreme Court ruled that the question whether an arbitration contract forbids class

 arbitration concerns "contract interpretation and arbitration procedures," which fall under the

 domain of arbitrators who "are well situated to answer" questions relating to those issues. This is

 not a case in which there is a class action waiver or specific language limiting arbitration to

 “individual” arbitration. TCFI is in possession of two agreements. There is one handbook, which

 purportedly limits class arbitration, but which TCFI acknowledges it is not seeking to enforce, and

 a second handbook which contains no class action waiver or limitation to “individual” arbitration.



 15
    Indeed, even if the clause is found to be ambiguous as to whether arbitration is binding, “it is well to note that [New
 York] would apply the rule of contra proferentem, i.e., ambiguous contract language is construed strongly against the
 drafter.” Borecki v. Raymours Furniture Co., No. 17-cv-1188 (LAK), 2017 U.S. Dist. LEXIS 196048, at *8-9
 (S.D.N.Y. Nov. 28, 2017)(construing scope of arbitration clause against drafter who was the “largest furniture retailer
 in New York state).


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 Under these circumstances, whether arbitration is to proceed on an individual or class wide basis

 is a question for the arbitrator. In re A2p SMS Antitrust Litig., 972 F. Supp. 2d 465, 470 (S.D.N.Y.

 2013).

                                           CONCLUSION

          For the foregoing reasons, it is respectfully requested that the Court deny the Defendant’s

 renewed motion to compel arbitration with prejudice. If the Court refers the case for arbitration,

 Plaintiffs request that such arbitration be non-binding, and that the question of whether arbitration

 shall be on an individual or class basis be referred to the arbitrator.

 Dated: Huntington, New York
        July 31, 2023


                                                        Steven J. Moser




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